
Nicholson, C. J.,
delivered the opinion of the Court.
This cause was before the Court at its April Term, 1867, and was then heard and an opinion delivered, which was reported in 3 Col., 587. In that opinion it was held that the act of Congress which forbid the recording and using in evidence any instrument, document, or paper required by law to be stamped, unless a stamp of the proper amount shall have been affixed, was applicable alike to the proceedings in State and United States Courts, and, hence, that a deed registered without having been so stamped, was invalid as evidence and as a muniment of title.
A petition for re-hearing was granted at the same term, and the cause has continued ever since suspended and undisposed of.
In the case of Sporrer v. Eifler, 1 Heis., 633, this Court followed the cases of Carpenter v. Snelling, 97 Mass., 452; and Lynch v. Morse, ibid., 458, in which *690it was held, that the act of Congress providing that no document not duly stamped shall be used as evidence in any Court until the requisite stamps shall have been affixed thereto, applies only to the Courts of the United States.
It was furth&amp;r held in that case, that there has been no delegation by the States to Congress of power or authority to legislate for the internal regulation of the States, and that the people of the States are not prohibited by the Constitution of the United States from creating and regulating the Courts of the States, and declaring the rules for their government. The power of Congress to declare what shall and what shall not be a muniment of title was expressly denied, and it was determined that stamps are not necessary to the validity of a paper as a muniment of title, nor to its competency as evidence in the Courts of the States.
It is, therefore, clear that in the case of Sporrer v. Eifler, this Court determined the question as to the effect of want of stamps upon the registration of the deed, as well as the question as to its effect on it as evidence. With that holding we are entirely satisfied, and apply the same to the case now before us.
The decree will be drawn accordingly.
